Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 1 of 39




                  EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 2 of 39




                  EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 3 of 39




                  EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 4 of 39




                  EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 5 of 39




                  EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 6 of 39




                  EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 7 of 39




                  EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 8 of 39




                  EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 9 of 39




                  EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 10 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 11 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 12 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 13 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 14 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 15 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 16 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 17 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 18 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 19 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 20 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 21 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 22 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 23 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 24 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 25 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 26 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 27 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 28 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 29 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 30 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 31 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 32 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 33 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 34 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 35 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 36 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 37 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 38 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
Case 1:09-cv-00716-BAH Document 33 Filed 12/03/09 Page 39 of 39




                   EXHIBIT I TO DEC. 2, 2009 STIPULATION
